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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,                            Criminal No. 97-091 (JAF)

     v.

JEANNETTE SOTOMAYOR-VAZQUEZ,

     Defendant.




                                   O R D E R

     We finally reach the November 12, 1999, motion by Attorney

Francisco Rebollo-Casalduc, seeking reconsideration of sanctions

imposed on May 21, 1998.        See Docket Document No. 1031.

     The long time elapsed between the filing of the motion and the

present resolution obeys to the fact that this case remained active

and litigious directly and collaterally until very recent times.             It

was only prudent not to act until the last stages of this unusual

criminal   litigation     had   ended,    and   the   collateral     third-party

criminal litigation against other actors for obstruction of justice

had concluded.

     Without hesitation, we can say that Attorney Rebollo-Casalduc’s

actions in this case never changed our opinion about his good

character, moral fitness, and legal abilities.                 While remaining

convinced that he acted motivated by the peer pressure of a jointly-

undertaken defense, it is also true that the shock of the sanction
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immediately brought about a reality check that led Mr. Rebollo to

admit, as a responsible professional, that other courses of action

would have been more prudent.

     The original sanctions had to be evenly handed out against those

attorneys involved in the conduct the court found objectionable.

However, we recognize that Mr. Rebollo was the only one to meet the

consequences and seek professional forgiveness from the offended

party.     Mr.   Rebollo,     thus,   acted     like    the     honest,     serious

professional he is.       Therefore, it is only fair that, after so many

years of patiently waiting for this case to conclude, he be duly

recognized for what he consistently is, a decent professional in

every sense of the word.

     The written sanction and censure previously imposed is vacated

in recognition of Mr. Rebollo’s honesty and courage in dealing with

the situation and facts that brought about the original sanction.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, this 15th day of August, 2005.

                                           S/José Antonio Fusté
                                            JOSE ANTONIO FUSTE
                                           U. S. District Judge
